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EXHIBIT A

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State of Illinois
County of Co`ok
IN THE CIRCUIT COURT OF COOK COUNTY_, ILLINOIS
COUNTY DEPAR'I’MENT, LAW DIVISION ll
, . l )
Bogus_tawa "Bonme” Frey, ) No.
Plaintiff, )
)
v. ) JURY DEMANDED
, )
Holiday Inn Express, Hotel Coleman, ) **Damages in Excess of $50,000,00**
Vaughn Hospitality, )
Defendants. )
)
)
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NOW COMES the Plaintiff, Bogustawa “Bonnie” Fley, by and through»£§r_ a€bomey, .TUST.[N

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G. R.ANDOLPH., and asserts the following m Suppon ofthis Complaint again§i the D%feniant:

JURISDICTION

l, Jurisdictio'n over violations ofth'e lllinois Human'Rights Ac.t (“The Act”') is con§rred `or`i this

com by 775 lLCS 5/7A_1'02 (C)(4).
PROCEDURAL REOUIREMENT

2. On or about March 15, 2010, Plaintifi"l`xled a multi~count charge based on Sexual
Harassment and Pregnancy Discriminationagainst Defendant with the lllinois Department
Of Human Rights. Plaintiff’ s charge was filed within one hundred eighy (180) days after the

unlawful employment practices occurred On or about October lS, 2010,v Plaintiff filed a

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charge of retaliation for unlawful termination 'Plaintiff’s retaliation charge was filed Withi_'n
one.hundred eight(lg()') days after the unlawful employment practice occurred;()n August
5, 20},1, the lli.inois Department of Human'Ri'ghtsnotified Plai'ntiff of her right to sue in
'Circui`t Court on the first charge On the lllinois' Depa'rtment’of Human Rights notified
Plaintiff of her right to sue in Circuit Courton the first charge Plaintiff timely filed this

complaint in accordance with 775 ILCS 5/7A-102 `(`C)(il).

COUNT I: SEXUAL HARASSMENT

. Plaintifi’, a woman, was hired by Defendants in August 2008 to work in Guest Services

. During her time there she was subjected to unwanted, unwelcome, and offensive sexual

comments and advances by her snpervisor, Mike Vaughn
Her supervisor made unwanted, unwelcome, and offensive sexual comments and advances
including

a. vHe needed to get “l`aid”;

b. He could get any young girl he Wanted;

‘C. Plaintiff should put a penny in ajar every time she had sex Wi'ch her husband and

then he later asked her how manypennie's she had in the jar;

d. I-Ie repeatedly asked to touch her stomach;

e. He invited her to a hotel room;

f. He invited her to a bar;

g. He stated he wanted to have phone sex With' the Plaintiff;

h. He threw business cards on the floor in front of Plaintiff telling let to pick chem up

so he could “see her ass”;

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i. He said she had a “sexy body”.

Plaintiff was extremely embarrassed and upset by these comments which caused her

substantial emotional pain and suffering

COUNT lI: HOSTILE WORK ENVIRONMENT
Para_graphs 1-6 are incorporated are hereby re-alleged and incorporated'as if’fully set forth
herein
Defendant"s conduct created a hostile, degrading, offensive and intimidating work
environment which lasted from the time that it began untilPlaintiff was terminated for iiing
her charge of sexual harassment and which substantially interfered with herwork
performance her'enjoyment of life, and caused and continues to cause her great emotional

pain and stress

COUNT III: PREGNANCY D'ISCRIM'INATION

,Paragraphs 1*8 are incorporated are hereby realleged and incorporated as if fully set forth

herein
ln June 2009 Plainti_ff informed her employer that she was pregnant
Subsequently, Plaintiff was subjected to adverse employment decisions and degrading
treatment such as:
ya. ln August 2009, Plaintiff was denied the Executive Sales l\/lanager position she
had been promised by Mike Vaughn;

b. ln Oc'tober 2009, without warning, Plaintiff Was sent from the front desk to

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about.'p'ain and swollen ankles;

.. Plaintiff was told to put guest folios underneath guest doors even after Plaintiff

informed management that bending over became an issue because it hurt

'Plaintist back and stomach;

.. Two replacements were hired in anticipation of,Plaintif;t’ s maternity leave that

received more hours than Plaintift" did despite her request for additional hours;

. ln or about December 2009, Jenn `Vaughn warned my co-worker Kristy Orzech

to stay away from Brady (owner’s son)., She told Kristy that Brady and P`laintiff
were very close and that they were sleeping together. Jenn Vaughn went on to

say that Brady is the father of Plaintist child;

. Defendant showed no concerns about Plaintiff’s health or well being The work

conditions and hostility created complications with Plaintift"s pregnancy that
included stress which caused low weight gain, and back pain;

Safety at the hotel is an issue but Plaintiff would find herself working at night
with no security On one occasion lenn Vaughn became upset upon seeing
police in front of the building Plaintiff called the police after she was
confronted by drunken guest that told her to “Fuck off’ causing Plaintiff to fear
for her safety and the safety of her unborn child;

Plaintiff became so scared that her husband, a police officer, and friend would
stay with her at times during her shift Plaintiff also asked the Algonquin Police

Departrnent to check on her when she was working;

.ln January 2010, when Plaintift` called to inform Jenn Vaughn that she would

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not be able to be at work because'h'er water had broken she.responded by saying

'[ that she had already had Plaintiff replaced This happened without PlaintiH` ever

2 telling her supervisors she needed that time off

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COUNT IV: RETALIATION

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6 ll Paragraphs l-l l are hereby realleged and incorporated as if fully set forth herein

7 13. Ai`ter Plaintiffiiled her charge of sexual harassment and pregnancy discrimination Plaintiff was

8 terminated by Defend`ant

9 l4. Jenn Vaughn, the daughter ofPlaintifi" s harasser, Who Was also a supervisor at the Worl<'place,_
10 fabricated a story wherein Plaintiff was purported to have stolen a $5.00 gift card to Chil_i’s
ll

which she alleged found while going through Plaintift" s personal belonging while Plaintiff was
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Working.
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1 4 l§. As a direct and proximate result ofDefendant’s unlawful tenninationPlaintiff has lost income
15 and benefits and has suffered, and continues to suffer, mentally,emotionally and financially
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l 7
WHEREFORE, an Order is requested providing the following relief;
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`l 9
(a) That Defendant pay to Plaintil`t` a sum equal to the damages she has
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suffered because of embarrassment, humiliation, insult and emotional suffering asa

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4 result of the civil rights violations committed against herby Defendant;
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pay comparable to whatshe would be receiving if not for the civil rights violation
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committed against her by Defendant;
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l (k) That such further relief be granted as may bet necessary to make Plaintiff whole
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'3 Respectfully Submitted,
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Law Office of lustin G. Randolph
8 Attorney for Plaintiff
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